Case 2:20-cv-01691-JFW-AFM Document 97-12 Filed 09/03/21 Page 1 of 1 Page ID
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   Case 2:20-cv-01691-JFW-AFM Document 82-1 Filed 08/23/21 Page 1 of 1 Page ID #:1031




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